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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

MARIELA PEREZ, on behalf of herself and
                                  §
all others similarly situated,    §
                                  §
             Plaintiff,           §
                                  §
v.                                §                                       1:19-CV-724-RP
                                  §
MCCREARY, VESELKA, BRAGG & ALLEN, §
P.C., and MVBA, LLC               §
                                  §
             Defendants.          §

                                              ORDER

       Before the Court is Plaintiff Mariela Perez’s (“Perez”) unopposed motion for approval of

class notice and schedule. (Dkt. 85). The Court will grant this motion.

       Accordingly, IT IS ORDERED that Defendant McCreary, Veselka, Bragg & Allen, P.C.

shall provide Perez with a list of the names and addresses of the class members on or before

September 10, 2021.

       IT IS FURTHER ORDERED that the class notice, (Dkt. 85-2), shall be mailed to the

class members on or before October 1, 2021.

       IT IS FINALLY ORDERED that the class members shall opt-out or intervene on or

before December 1, 2021.

         SIGNED on August 31, 2021.


                                               _____________________________________
                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE




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